                                       Case 3:25-cv-04870-CRB           Document 117         Filed 07/19/25   Page 1 of 2




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                                   5                        IN THE UNITED STATES DISTRICT COURT
                                   6                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                   8    GAVIN NEWSOM, et al.,                                Case No. 25-cv-04870-CRB
                                   9                 Plaintiffs,
                                                                                             ORDER RE PRE-TRIAL
                                  10           v.                                            DEADLINES
                                  11    DONALD J. TRUMP, et al.,
Northern District of California




                                  12                 Defendants.
 United States District Court




                                  13          The Court has carefully reviewed the Joint Response to Consolidation Pursuant to
                                  14   Federal Rule of Civil Procedure 65(a)(2), which set out the parties’ respective positions
                                  15   regarding the upcoming bench trial. See Joint Response (dkt. 115). The Court sets the
                                  16   following pretrial schedule:
                                  17          July 25, 2025:          The parties will complete document and written discovery.
                                  18          July 30, 2025:          The parties will submit their respective positions on any
                                  19                                  discovery disputes that they have been unable to resolve via the
                                  20                                  meet and confer process. Their briefs are not to exceed 5 pages
                                  21                                  of substantive text.
                                  22          July 30, 2025:          Plaintiffs will file their supplemental preliminary injunction
                                  23                                  motion, as ordered in ECF No. 105.
                                  24          July 31, 2025:          The parties will exchange final witness lists, including a brief
                                  25                                  description of each witness’s testimony.
                                  26          August 1–6, 2025: The parties will make their witnesses available for depositions,
                                  27                                  if those witnesses have not already been deposed.
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                                       Case 3:25-cv-04870-CRB          Document 117        Filed 07/19/25      Page 2 of 2




                                   1          August 4, 2025:       Defendants will file their supplemental preliminary injunction
                                   2                                opposition, as ordered in ECF No. 105.
                                   3          August 6, 2025:       Plaintiffs will file their supplemental preliminary injunction
                                   4                                reply, as ordered in ECF No. 105.
                                   5          August 7, 2025:       The parties will exchange exhibit lists.
                                   6          August 8, 2025:       The parties will separately file their witness lists.
                                   7          August 8, 2025:       Motions in limine and objections to witnesses are due.
                                   8          August 8, 2025:       The parties will enter into any stipulations of fact.
                                   9          August 9, 2025:       Proposed findings of fact and conclusions of law are due.
                                  10          August 9, 2025:       Responses to any motions in limine and objections to witnesses
                                  11                                are due.
Northern District of California




                                  12          August 11, 2025:      The parties will jointly file their exhibit list.
 United States District Court




                                  13          The bench trial will be held August 11–13, 2025. The bench trial will include the
                                  14   testimony of live witnesses; the only limitation that the Court will put on the content of
                                  15   witness testimony is that it be relevant to the Posse Comitatus Act claim. That is,
                                  16   witnesses’ trial testimony will not be limited to the scope of their deposition testimony so
                                  17   long as their trial testimony remains relevant to whether Defendants have violated the
                                  18   Posse Comitatus Act.
                                  19          Both parties also request that the Court permit additional discovery in the event that
                                  20   it determines, at the conclusion of the bench trial, that it requires additional material facts
                                  21   beyond the evidence presented. See Joint Response at 1, 4. To avoid any uncertainty or
                                  22   surprise to the parties, the Court clarifies that the record will be deemed closed at the
                                  23   conclusion of the trial. Of course, if a party persuades the Court at that point that there is
                                  24   good cause to reopen discovery, the Court may do so in its discretion.
                                  25          The Court does not see a need to set a status conference at the present time.
                                  26          IT IS SO ORDERED.
                                  27          Dated: July 19, 2025
                                                                                           CHARLES R. BREYER
                                  28                                                       United States District Judge
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